                                                                                     Motion GRANTED.
                                                                                     Extension to 11/21/2018.

                           IN THE UNITED STATES DISTRICT COURT
                          FOR THE MIDDLE DISTRICT OF TENNESSEE
                                       AT NASHVILLE



 JAMES SWAIN RIEVES, ET AL.,                      )
                                                  )
            Plaintiffs,                           )
                                                  ) Case No. 3:18-cv-00965
 v.                                               ) Judge Aleta A. Trauger
                                                  )
 TOWN OF SMYRNA, TENNESSEE,                       )
 ET AL.                                           ) Jury Demand
                                                  )
            Defendants.                           )


          UNOPPOSED MOTION FOR EXTENSION OF TIME TO RESPOND
                  ON BEHALF OF SMYRNA DEFENDANTS

        Defendants, Town of Smyrna, Tennessee and Smyrna Police Chief Kevin Arnold (“Smyrna

Defendants”) move this Court for an extension of time up to and including November 21, 2018, in

which to file a responsive pleading to Plaintiffs’s Amended Complaint. In support of this motion,

the Smyrna Defendants show to the Court as follows:

        1. Counsel for the Smyrna Defendants needs additional time to schedule follow up

conferences with Smyrna employees (those with whom he has not yet spoken), especially in light

of additional factual allegations made in the recently filed Amended Complaint;

        2. The Initial Case Management Conference in this action is scheduled for December 5,

2018, and these Defendants will file a response to the Amended Complaint before that date; and

        3. Plaintiffs’s counsel has no objection to this request for an extension.

        For the above reasons, the Smyrna Defendants respectfully request this extension up to and

including November 21, 2018, to file their responsive pleadings.




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